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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA


UNITED STATES OF AMERICA, )
    Plaintiff,            )
                          )                        2:06-cr-00071-MHT-SMD
                          )
          v.              )                           Judge Myron H. Thompson
                          )
BERNETTA WILLIS           )
   Defendant.             )



                            JOINT STATUS REPORT

      Now comes the Defendant, BERNETTA WILLIS, by her attorney MIANGEL

CODY, and the UNITED STATES OF AMERICA, by Assistant United States

Attorney BRETT TALLEY, to file this Joint Status Report. We report to the Court as

follows:

      1.     On March 6, 2023, the Court granted defendant Bernetta Willis’s

motion for compassionate release pursuant to Title 18 U.S.C. § 3582(c), as amended

by Section 603 of the First Step Act. Doc. No. 498.

      2.     Ms. Willis was released from Aliceville federal prison on March 7, 2023,

and she reported to the Montgomery-area halfway house. Defense counsel and her

community supporters are working to schedule Ms. Willis’s medical appointments and

followup care.
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      3.      The Court instructed the parties to, by March 17, submit proposed

modifications to Ms. Willis’s supervised release conditions. The parties have conferred

and have no proposed modifications at this time.

      4.      This case is scheduled for a status hearing on March 22, 2023. Doc. No.

501. At that time, the parties will apprise the Court whether there is any need for

further modification of Ms. Willis’s supervised release.

Respectfully submitted,

/s/ MiAngel Cody                             /s/Brett Talley
MIANGEL CODY                                 BRETT TALLEY
TDC LAW OFFICE                               ASSISTANT U.S. ATTORNEY
1325 S. Wabash Ave. Suite 305                131 Clayton Street
Chicago, IL 60605                            Montgomery, AL 36104
Tel: 312-858-8330                            Tel: (334) 223-7280
                                             Counsel for the United States of America
Counsel for Bernetta Willis


                              CERTIFICATE OF SERVICE
       The undersigned, MiAngel Cody, an attorney with The Decarceration
  Collective Law Office, hereby certifies that on March 17, 2023, I electronically
   filed the following with the Clerk of the Court using the CM/ECF system:

                               JOINT STATUS REPORT




                                                                     /s/ MiAngel Cody
                                                                     MIANGEL CODY
                                                                    TDC LAW OFFICE
                                                           1325 S. Wabash Ave. Suite 305
                                                                      Chicago, IL 60605
                                                                 Counsel for Bernetta Willis
